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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

BOBBY BRUCE WHITE,                                     )
                                                       )
               Plaintiff,                              )
                                                       )
v.                                                     )       Case No. 24-3023-DDC-RES
                                                       )
ANDREW PARKS, et al.,                                  )
                                                       )
               Defendants.                             )
                                                       )

                    DEFENDANT MEREDITH’S MOTION TO DISMISS

       Defendant Evan Meredith (“Defendant”), respectfully requests, through Assistant

Attorneys General Matthew L. Shoger and Sydney C. Walsh, that this Court dismiss the claims

against him under Fed. R. Civ. P. 12(b). To avoid submitting duplicate arguments, Defendant

Meredith incorporates by reference the arguments, exhibits, and nature-of-the-case section in the

Motion to Dismiss by Defendants Parks and Chapman, which was filed on December 10, 2024

(Doc. 30). See United States v. Dowdy, 149 F. App’x 73, 75 n.1 (3d Cir. 2005) (“When

appropriate, a district court can allow defendants to incorporate by reference the arguments of

their co-defendants.”). 1 Defendant Meredith incorporates these arguments as if raised directly by

him and outlines these arguments below.

       The Court should dismiss official-capacity claims against Defendant for lack of subject-

matter jurisdiction due to Eleventh-Amendment immunity. The Court should dismiss the

remaining claims against Defendant under Rule 12(b) as a matter in abatement for failure to

exhaust administrative remedies under the Prison Litigation Reform Act (PLRA). Alternatively,



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  In the alternative, if the district court does not believe it is appropriate for Defendant Meredith
to incorporate these arguments, then he requests an extension of time to file an amended motion
to dismiss that will raise these arguments directly.
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Defendant requests an evidentiary hearing on the exhaustion issue, for the Court to dismiss this

case under Rule 12(b)(6) due to failure to exhaust administrative remedies, or for the Court to

convert this motion to a summary-judgment motion and grant the Defendant summary judgment

due to failure to exhaust administrative remedies. Further in the alternative, the Court should

dismiss the failure-to-protect and retaliation claims in light of qualified immunity for failure to

state a claim.

        For the reasons incorporated and outlined above, Defendant requests that the Court grant

this motion.

                                               Respectfully submitted,

                                               KRIS W. KOBACH
                                               ATTORNEY GENERAL OF KANSAS

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                                CERTIFICATE OF SERVICE

         I hereby certify that on this 24th day of February, 2025, the foregoing document was filed
with the clerk of the court by using the CM/ECF system, with a copy to be served by means of
first-class mail, postage prepaid, addressed to:

       Bobby Bruce White #76983
       Larned State Correctional Facility
       1318 KS Highway 264
       Larned, KS 67550
       Plaintiff, pro se

                                             /s/ Matthew L. Shoger
                                             Matthew L. Shoger
                                             Assistant Attorney General




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